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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                           Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND                    FILED UNDER SEAL
 CONSULTING LLC,

               Defendant.



                       GOVERNMENT’S BILL OF PARTICULARS

       The United States of America respectfully submits the following bill of particulars in

response to the Court’s order dated May 24, 2019.

1. Identify all unindicted co-conspirators that the government intends to establish as co-
   conspirators at trial.




2. Identify all statutory or regulatory disclosure requirements whose administration the
   defendants allegedly conspired to impair, along with supporting citations to the U.S.
   Code, Code of Federal Regulations, or comparable authority.

             The Federal Election Campaign Act (“FECA”) requires persons who make
              “independent expenditures” of more than $250 in a calendar year to file reports
              with the Federal Election Commission (“FEC”). 52 U.S.C. § 30104(c); 11 C.F.R.

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              § 109.10; see 52 U.S.C. § 30101(17) (defining “independent expenditure”); 11
              C.F.R. § 100.22 (regulation interpreting “independent expenditure”).

             FECA prohibits a foreign national from making an expenditure or independent
              expenditure. 52 U.S.C. § 30121; 11 C.F.R. § 110.20; see Bluman v. Federal
              Election Commission, 800 F. Supp. 2d 281, 284 (D.D.C. 2011) (interpreting
              Section 30121 to bar foreign nationals “from making expenditures to expressly
              advocate the election or defeat of a political candidate”).

             The Foreign Agent Registration Act (“FARA”) requires the registration of, and
              disclosures by, an agent of a foreign principal who, either directly or through
              another person, within the United States, engages in “political activities” on
              behalf of a foreign principal or acts within the United States as a public relations
              counsel, publicity agent, information-service employee, or political consultant for,
              or in the interests of, such foreign principal, among other enumerated activity. 22
              U.S.C. §§ 612(a), 611(b) (defining foreign principal to include non-government
              individuals and entities abroad, 611(c) (defining “agent of foreign principal”),
              614(a); 28 C.F.R. §§ 5.200-5.210. The statute also requires an agent of a foreign
              principal to file copies with the Attorney General of any “informational materials”
              transmitted in the United States “for or in the interests of” the foreign principal,
              and to put a conspicuous identifying statement on such informational materials.
              22 U.S.C. § 614(a), (b); 28 C.F.R §§ 5.400, 5.402.

3. Identify each category of expenditures that the government intends to establish
   required disclosure to the FEC, along with supporting citations to the U.S. Code, Code
   of Federal Regulations, or comparable authority.

             The indictment alleges, and the evidence at trial will prove, that the conspirators
              made numerous payments to purchase advertisements that expressly advocated
              the election or defeat of a particular candidate in the 2016 U.S. presidential
              election. Doc. 1 ¶¶ 43, 48-50. This conduct triggered the registration
              requirement set forth in 52 U.S.C. § 30104(c), and 11 C.F.R. § 109.10. This
              conduct also violated the foreign national expenditure ban set forth in 52 U.S.C.
              § 30121.

             The indictment alleges, and the evidence at trial will prove, that the conspirators
              made payments to promote political rallies in the United States. Doc. 1 ¶¶ 51-57,
              59-85. This conduct triggered the registration requirement set forth in 52 U.S.C.
              § 30104(c). This conduct also violated the foreign national expenditure ban set
              forth in 52 U.S.C. § 30121.

4. Identify each category of activities that the government intends to establish triggered a
   duty to register as a foreign agent under FARA, along with supporting citations to the
   U.S. Code, Code of Federal Regulations, or comparable authority.




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              The indictment alleges, and the evidence at trial will show, that the conspirators
               traveled to the United States under false pretenses at the direction and under the
               control of the conspirators and in order to collect intelligence to further the
               interference operations of the conspirators. Doc. 1 ¶¶ 29-31. This conduct
               triggered FARA’s reporting requirement. 22 U.S.C. § 612(a); see 22 U.S.C. §§
               611(c)(1)(ii); see also 22 U.S.C. § 611(g), (h), (p).

              The indictment alleges, and the evidence at trial will show, that the conspirators
               used social media platforms, political advertising, and political rallies to influence
               public opinion on political matters and to interfere in the 2016 U.S. presidential
               election. Doc. 1 ¶¶ 32-57. This conduct triggered FARA’s reporting
               requirement. 22 U.S.C. § 612(a); see 22 U.S.C. § 611(c)(1)(i), (ii), (iv); see also
               22 U.S.C. § 611(g), (h), (o).

5. Clarify whether the actions Prigozhin allegedly performed in paragraphs 12 and 13 of
   the indictment are alleged to have been performed on Concord’s behalf. If they are not,
   identify the “activities” overseen by Concord and describe the manner in which
   Concord oversaw them.

       The actions Prigozhin allegedly performed in paragraphs 12 and 13 of the indictment are

alleged to have been performed on Concord’s behalf. In particular, the indictment alleges that

Prigozhin “approved and supported the ORGANIZATION’s operations.” Doc. 1 ¶ 12a. The

indictment further alleges that in or around 2015 and 2016, Prigozhin “frequently communicated

with” co-defendant Mikahil Bystrov “about Project Lakhta’s overall operations, including

through regularly scheduled in-person meetings.” Id. ¶ 13b. These actions are alleged to have

been performed on Concord’s behalf.

                                      Respectfully submitted,

JOHN C. DEMERS                                                JESSIE K. LIU
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